Case 2:23-cv-00120-JRS-MG Document 1-15 Filed 03/16/23 Page 1 of 4 PageID #: 132




                       Exhibit 14
              Nevada State Case Agreement
Case 2:23-cv-00120-JRS-MG Document 1-15 Filed 03/16/23 Page 2 of 4 PageID #: 133




                      AGREEMENT FOR LEGAL SERVICES

 THIS AGREEMENT, is made and entered into by and between True the Vote
 (hereinafter “Client”) and The Bopp Law Firm, P.C. (hereinafter “The Firm”). This
 agreement supersedes any and all previously executed agreements between the
 parties with respect to the services contemplated herein.

 WHEREAS, Client agrees to pay the legal fees of the Plaintiffs arising out of The
 Firm’s representation of the Voters in the state case, Corona v. Cegavske case no.
 20-0C-00064-1B, and in any subsequent appellate proceedings in the case.

 THE PARTIES AGREE as follows:

 Third Party Payor. Client has been informed that The Firm and its attorneys must
 resolve any conflict of interest arising out of Client’s payment of legal fees incurred
 in the above-referenced matter in accordance with The Firm’s and its attorneys’
 professional ethical obligations to the Plaintiffs. Client agrees and consents that it
 may not interfere in any way with The Firm’s or its attorneys’ professional
 judgment or the attorney-client relationship between The Firm, its attorneys, and
 the Plaintiffs relating to The Firm’s representation of the Plaintiffs.

 Hourly Rates. The Client will pay the following hourly rates: $630/hour for James
 Bopp, Jr., $530/hour for Rich Coleson, $310/hour for Corrine Youngs and $300/hour
 for Amanda Narog. Other attorneys may assist with the Client at The Firm’s
 discretion at their corresponding hourly rates charged by the Firm. Hourly rates for
 attorneys undergo periodic review and may increase during the term of this
 Agreement upon notice to the Client. In addition, The Firm may charge an agreed-
 to flat fee for specific services, when the results in the matter justify the flat fee.

 Costs and Expenses. Client is responsible for all reasonable costs and expenses,
 which are in addition to the hourly charges for legal services. Costs and expenses
 include, but are not limited to, court charges, copies, postage, telephone, fax, travel,
 parking, special materials, exhibits, photographs, investigators, experts, computer
 assisted legal research and all other disbursements, costs, or expenses attributable
 to said legal services. Client agrees to pay for computer assisted legal research at
 The Firm’s usual rate of $3.00 per minute. Client agrees to pay for copies and
 facsimiles (incoming or outgoing) at the rate of $.25 per page for 1-25 total pages,
 $.15 per page for 26-100 total pages, and $.10 per page for more than 100 total
 pages. Total pages are those copied or facsimiled during a copying or facsimiling
 event.

 Petition for Attorneys’ Fees. The legal challenge may succeed with respect to claims
 brought under 42 U.S.C. § 1983. If the legal challenge does succeed with a claim or
 claims to which 42 U.S.C. § 1983 applies, to the extent permitted by applicable law,
 Client assigns the right to seek attorney’s fees, costs, and expenses to The Firm,

                                       Page 1 of 3
Case 2:23-cv-00120-JRS-MG Document 1-15 Filed 03/16/23 Page 3 of 4 PageID #: 134




 and Client agrees to cooperate in the preparation and filing of a petition for fees,
 costs, and expenses to be paid by the State of Nevada upon the successful conclusion
 of the case. If any attorney fees or costs have been paid by Client, Client shall be
 reimbursed to the extent that those attorney fees and costs have been awarded by
 the Court and paid by the Defendant(s). If there are any attorney fees or costs that
 were not paid by Client, The Firm shall be paid these unpaid attorney fees and
 costs before Client is reimbursed from the Court award.

 Statements. All statements are due and payable within 30 days of receipt by Client.
 Interest accruing at 1.5% per month will be applied to past due accounts until paid.
 Client agrees to pay all attorney fees and costs of collecting Client’s account if legal
 action is taken to collect fees and costs due The Firm.

 Termination. The Firm will be obligated to honor any instructions of Plaintiffs
 requesting termination. If Plaintiffs elect to terminate The Firm’s representation,
 Client is responsible for all attorneys fees, costs, and expenses incurred pursuant to
 this Agreement. Should The Firm be required to perform any services or functions
 regarding Plaintiffs’ case after receipt of such instructions, Client is responsible for
 fees, cost, and expenses for these services. If Client has a deposit balance, this
 balance will be refunded. Any time spent by The Firm in response to any inquiry by
 or on behalf of Plaintiffs concerning the case is subject to charge at the rates
 provided for hourly fees.

 Disputes. This Agreement shall be governed by Indiana law and Indiana courts.
 Any dispute arising under or in connection with the agreement or related to any
 matter which is the subject of this Agreement shall be resolved on the basis of
 Indiana law without giving effect to Indiana’s conflict of law principles and brought
 in a court located in Indiana.

 The undersigned persons represent that they are duly authorized to sign this
 agreement and hereby agree to the terms and conditions of legal employment, as
 specified above.

 This Agreement may be signed in any number of counterparts. Each counterpart is
 an original and together, all of the counterparts form a single document. Signatures
 delivered by email in PDF format shall be effective.


 Signed on __________________, 2020.



 ___________________________, for Client
 Catherine Engelbrecht, President
 True the Vote, Inc.

                                       Page 2 of 3
Case 2:23-cv-00120-JRS-MG Document 1-15 Filed 03/16/23 Page 4 of 4 PageID #: 135




 ___________________________, for The Firm
 James Bopp, Jr.
 The Bopp Law Firm, P.C.
 Terre Haute, Indiana




                                    Page 3 of 3
